                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                      AT KNOXVILLE


 UNITED STATES OF AMERICA,                        )
                                                  )
                       Plaintiff,                 )
                                                  )
 v.                                               )             No. 3:07-CR-116
                                                  )             (PHILLIPS/SHIRLEY)
 ZACHARY ADAM DANCE, and                          )
 JACOB RONALD REED,                               )
                                                  )
                       Defendants.                )


                                AMENDED PRETRIAL ORDER

               This action came before the Court pursuant to a telephone conference on March 17,

 2008 in which Hugh Ward, Jr. as counsel for the government and Kim Tollison as counsel for

 Zachary Adam Dance; Herbert Moncier and David Wigler as counsel for Jacob Ronald Reed,

 indicated that this Pretrial Order could be entered without the necessity of a formal hearing or

 pretrial conference. The Court is advised that defendant Dance has entered a Change of Plea and

 that defendant Reed is scheduled to do so on or about March 26, 2008.

                                                I.

               Defendant Dance previously was given time to file a Motion to Suppress.

 Subsequently, the motion deadline was extended from February 28, 2008 to March 6, 2008.

 However, to date no new motions were filed or are pending. The evidentiary hearing scheduled for

 April 24, 2008 is hereby CANCELLED.

                                                II.

               Trial procedures to be followed in this case are as follows:




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                 (a) Jury Selection. The Court will conduct a preliminary voir dire examination of

 the jury, and then counsel will be permitted to conduct voir dire examination. The Court reserves

 the right to interrupt counsel and conduct voir dire on its own if counsel ask improper questions or

 if the proceedings are unnecessarily prolongated.

                 (b) Peremptory Challenges. Under Fed. R. Crim. P. 24(b)(2), the defendant is

 entitled to ten peremptory challenges and the government is entitled to six.

                 (c) Novel Legal Issues for the Court. No novel or unusual legal issues were

 identified as of this time.

                 (d) Novel Evidentiary Issues for the Court. No novel or unusual evidentiary

 problems were identified as of this time.

                 (e) Special Requests for Jury Instructions. If counsel have any special requests

 for instructions to the jury, the same shall be filed at least five (5) working days before trial.

                 (f) Additional Motions. No more motions, other than motions in limine, will be

 allowed to be filed in this cause of action by either side without prior leave of Court to do so, since

 the motion cut-off date has passed. All motions in limine must be filed at least five (5) working days

 before trial. Responses to motions in limine are due at least two (2) working days before trial.

                 (g) Admissions and Stipulations. Counsel should meet in advance of trial and care-

 fully review the trial exhibits with a view toward stipulating the admissibility of as many exhibits

 as possible. Any admissions and stipulations of fact to be used at trial shall be signed by Defendant’s

 attorney and the Defendant and filed at least five (5) working days before trial.

                 (h) Courtroom Decorum. Counsel are encouraged to familiarize themselves with

 Local Rule 83.3 and ensure that their clients are familiar with the contents of this rule.

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                                               III.

               The defendant, Jacob Ronald Reed is scheduled for a change of plea hearing before

 the Honorable Thomas W. Phillips set for March 26, 2008 at 2:00 p.m. The defendant, Zachery

 Adam Dance is scheduled for sentencing before the Honorable Thomas W. Phillips set for May 21,

 2008 at 10:00 a.m.

               If counsel have any objections to this Pretrial Order, such objection should be taken

 up pursuant to Local Rule 72.4(b), EDTN.

               IT IS SO ORDERED.

                                                      ENTER:


                                                        s/ C. Clifford Shirley, Jr.
                                                      United States Magistrate Judge




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